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                          IN THE UNITED STATES DISTRICT COURT

                               WESTERN DISTRICT OF TEXAS

                                        AUSTIN DIVISION
                                                §
Leila Green Little, et al.,                     §
                                                §
      Plaintiffs,                               §
                                                §
              v.                                § Civil Action No. 1:22-cv-00424-RP
                                                §
Llano County, et al.,                           §
                                                §
      Defendants.                               §
                                                §


                              AGREED SCHEDULING ORDER

        Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Scheduling Order

is issued by the Court:

1.      A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be

        filed on or before September 23, 2022.

2.      The parties will exchange Initial Disclosures (FRCP 26(a)(1)) on August 22, 2022.

3.      The parties asserting claims for relief shall submit a written offer of settlement to opposing

        parties on or before September 22, 2022, and each opposing party shall respond, in writing,

        on or before September 29, 2022. All offers of settlement are to be private, not filed. The

        parties are ordered to retain the written offers of settlement and responses so the Court may

        use them in assessing attorney’s fees and costs at the conclusion of the trial.

4.      Each party shall complete and file the attached “Notice Concerning Reference to United

        States Magistrate Judge” on or before August 5, 2022.
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5.    The parties shall file all motions to amend or supplement pleadings or to join additional

      parties on or before November 18, 2022.

6.    The parties shall complete all fact discovery on or before March 31, 2023.

7.    All parties asserting claims for relief shall file their designation of testifying experts and

      serve on all parties, but not file, the materials required by Federal Rule of Civil Procedure

      26(a)(2)(B) on or before February 17, 2023. Parties resisting claims for relief shall file

      their designation of testifying experts and serve on all parties, but not file, the materials

      required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before March 17, 2023. All

      parties shall file all designations of rebuttal experts and serve on all parties the material

      required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the

      extent not already served, 15 days from the receipt of the report of the opposing expert.

8.    An objection to the reliability of an expert’s proposed testimony under Federal Rule of

      Evidence 702 shall be made by motion, specifically stating the basis for the objection and

      identifying the objectionable testimony, within 11 days from the receipt of the written

      report of the expert’s proposed testimony, or within 11 days from the completion of the

      expert’s deposition, if a deposition is taken, whichever is later.

9.    The parties shall complete all expert discovery on or before May 19, 2023.

10.   Motions for summary judgment shall be filed as follows:

         a. Defendants’ motion for summary judgment shall be filed on or before June 9, 2023,

             and shall be limited to 20 pages.

         b. Plaintiffs’ response and cross-motion for summary judgment shall be filed on or

             before June 23, 2023, and shall be limited to 30 pages.
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         c. Defendants’ response to Plaintiffs’ cross-motion for summary judgment and reply

             in support of Defendants’ motion for summary judgment shall be filed on or before

             July 7, 2023, and shall be limited to 30 pages.

         d. Plaintiffs’ reply brief in support of the cross-motion shall be filed no later than July

             21, 2023, and shall be limited to 10 pages.

11.   All parties reserve the right to move for a stay of proceedings in the District Court in the

      event of an interlocutory appeal.

12.   The Court will set this case for final pretrial conference at a later time. The final pretrial

      conference shall be attended by at least one of the attorneys who will conduct the trial for

      each of the parties and by any unrepresented parties. The parties should consult Local

      Rule CV-16(e) regarding matters to be filed in advance of the final pretrial conference.




13.   This case is set for   Jury                   trial commencing at 9:00 a.m. on

                                       October 16                  , 20 23                 .


      By filing an agreed motion, the parties may request that this Court extend any deadline set

      in this Order, with the exception of the dispositive motions deadline and the trial date. The

      Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if the parties do

      not make timely submissions under this Order.


      SIGNED on 2nd day of August, 2022.



                                              ROBERT PITMAN
                                                         AN
                                              UNITED STATES DISTRICT JUDGE
